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ron rHE wEsTERN DrsrRlCr oF TENNESSEE 05 itt '1“ -‘5 Ptt 1a 93

WESTERN DIVISION

 

MARK REED, FRED PARROTT, AND
TROY WINGO

Plaintiffs,
v. No. 03-2849 B P

LEDIC MANAGEMENT CO. a/l<ja
LEDIC MANAGEMENT GROUP,

Defendant.

 

ORDER DENYING WITHOUT PREJUDICE DEFENDANT'S l\/IOTION TO EXCEED
THE PAGE LIMITATION FOR SUMMARY IUDGMENT AS TO EACH PLAINTIFF

 

Before the Court is the April 20, 2005 motion to exceed the page limitation for summary
judgment as to each plaintiff by the Defendant, LEDIC l\/lanagernent Co. A disposition on the merits
of the motion is not warranted at this juncture, however, as the Defendant's filing is not in
compliance with the Local Rules of this district The Local Rules provide that motions must be
accompanied by a certificate of consultation "affirming that, after consultation between the parties
to the controversy, they are unable to reach an accord as to all issues or that all other parties are in
agreement With the action requested by the motion.“ LR7.2(a)(l)(B), Local Ru]es of the U.S. Dist.
Ct. for the W. Dist. of Tenn. ("Local Rules"). The certificate of consultation

must contain the names of participating counsel and the date and manner of

consultation The burden will be on counsel filing the motion to initiate the

conference upon giving reasonable notice of the time, place and specific nature of the

conference If an opposing counsel or party refuses to cooperate in the conduct of a

conference, counsel must file a certificate to that effect, setting out counsel's efforts

to comply with this rule.

LR'/’.Z(a)(l)(B), Local Rules. In this case, there is no indication that counsel for the Defendant

This document entered on the docket sheet in compliance
With Ru’.e 58 and/or 79(3} FHCP on " L'D g q

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conferred with opposing counsel on the matter which is the subject of the filing or that counsel made

any attempt to do so. "Failure to file an accompanying certificate of consultation may be deemed

good grounds for denying the motion." LR'}’.Z(a)(l)(B), Local Rules. The Court further notes that

the motion was not accompanied by a proposed order as required by the Local Rules. w

LR?.Z(a)(l)(A), Local Rules. Accordingly, as the Defendant’s filing is procedurally defective, it is

hereby DENIED without prejudicel

As provided by Local Rule 7.2(€), “[m]emoranda in support of or in opposition to motions

shall not exceed twenty pages without prior court approval.” LR'/' .Z(e), Local Rules. Thus, the Clerk

of Court is DIRECTED to strike the motions and accompanying memoranda exceeding the page

limitation for summary judgment as to each of the Plaintiffs that was filed in conjunction with the

De'fendant’s April 20, 2005 motion.

ir is so oRDERED this §g day afr/ray 2005.

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_ D L BREEN \_
uNr Er) srArEs DisrRicr JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 89 in
case 2:03-CV-02849 was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

